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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

 WHOLESALE SCREENING SOLUTIONS, LLC, )
                                     )
                      Plaintiff,     )
                                     )
                   v.                )                       No. 3:20-cv-00158-RLY-MPB
                                     )
 CRIMINAL RESEARCH AND               )
 INVESTIGATIONS, INC., et al.        )
                                     )
                      Defendants.    )

                                             ORDER

        On the Court’s own motion, the SETTLEMENT CONFERENCE currently set in-

 person on DECEMBER 3, 2020 at 9:00 a.m., Evansville time (CST), is hereby CONVERTED

 to a TELEPHONIC SETTLEMENT CONFERENCE before the Honorable Matthew P.

 Brookman, United States Magistrate Judge. The date and time of the settlement conference shall

 remain unchanged. The information needed by the parties to participate in this telephonic

 conference will be provided by a separate notification.

        SO ORDERED.

 Dated: November 20, 2020




 Served electronically on all ECF-registered counsel of record.
